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EXHIBIT 9 - ORDER CONFIRMING PLAN (DKT. 148)
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    The relief described hereinbelow is SO ORDERED.



    Signed March 31, 2022.

                                                        __________________________________
                                                               H. CHRISTOPHER MOTT
                                                        UNITED STATES BANKRUPTCY JUDGE
    ________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

      IN RE:                                      §
                                                  §    Case No. 21-30107
      PDG PRESTIGE, INC.                          §    (Chapter 11)
                                                  §
               Debtor.                            §

            ORDER    CONFIRMING     SECOND    AMENDED   PLAN       OF
            REORGANIZATION PDG PRESTIGE, INC. DATED MARCH 29, 2022 AS
            MODIFIED (RE: DOCKET NO. 145)

            On March 30, 2022, the Court conducted a hearing and considered confirmation of the

            Plan of Reorganization of PDG Prestige, Inc. Dated November 3, 2021 (Docket No. 94)
            (the “Initial Plan”), as amended by the

            First Amended Plan of Reorganization of PDG Prestige, Inc. Dated January 17, 2022
            (Docket No. 110) and as amended by the

            Second Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022
            (Docket No. 141), and as modified by the

            Second Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022,
            as Modified (Docket No. 145) (the “Plan”)



     ORDER CONFIRMING SECOND AMENDED PLAN OF REORGANIZATION PDG PRESTIGE, INC. DATED
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filed herein by PDG Prestige, Inc. (“PDGP” or the “Debtor”), which final confirmed Plan is
attached hereto and incorporated by reference herein as Exhibit PDGP499, and which Plan is
and/or was supported by the:

       First Amended Disclosure Statement (as Corrected) In Support of First Amended Plan of
       Reorganization of PDG Prestige Inc. Dated January 17, 2022 (Docket No. 116) (the
       “Disclosure Statement”), and the

       First Supplement to Chapter 11 Plan and Disclosure Statement Regarding Retained
       Claims and Causes of Action (Docket No. 126).

         After reviewing the Plan, taking judicial notice of all appropriate papers and pleadings on
file in this Chapter 11 case, considering the testimony, and other evidence presented, and hearing
the arguments of counsel at the hearing to consider the adequacy of the Disclosure Statement
confirmation of the Plan (together the "Confirmation Hearing"), the Court FINDS:

        A.     All capitalized terms not defined herein shall have the same meaning as ascribed
to such terms in the Plan.

       B.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1334 and
157.

       C.      Venue in this District for this proceeding is proper pursuant to 28 U.S.C. §§1408
and 1409.

        D.     This matter involves, inter alia, the administration of the estate, the allowance and
disposition of certain claims, the adjudication of the relative rights of parties, and the discharge
of the Debtor, all as embodied in and implemented by virtue of the Plan and confirmation of the
Plan. Accordingly, the matters determined herein constitute a core proceeding under 28 U.S.C.
§§157(b)(2)(A), (B), (L), and (O), without limitation.

        E.     The Debtor commenced this case on February 15, 2021, by filing a voluntary
petition.

      F.      Since the entry of the Order of Relief, Debtor has continued its operations and
managed its affairs as debtor in possession pursuant to §§1107 and 1108 of the United States
Bankruptcy Code, Title 11 of the United States Code, 11 U.SC. §101 et seq. (the “Code”).

       G.      On November 3, 2021, the Debtor filed the Initial Plan and sought approval of the
Disclosure Statement.

       H.      On January 20, 2022, the Court entered an order (Docket No. 118) approving the
Disclosure Statement (the “Disclosure Statement Order”) and permitting solicitation of the Initial
Plan.

       I.     The Plan, the Disclosure Statement, the Disclosure Statement Order, the notice of
the Confirmation Hearing, and the official ballots for voting for or against confirmation of the


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Plan (the "Solicitation Package") were duly and timely served upon the known members or
potential members of all impaired Classes in accordance with the Disclosure Statement Order.

        J.      Service of the Solicitation Package constituted adequate and sufficient notice of
the Plan, the voting deadline, the objection deadline, and the Confirmation Hearing, and no other
or further notice is or shall be required.

        K.     Various objections to the Plan or the Disclosure Statement were filed or otherwise
received prior to the Confirmation Hearing. All such objections have been withdrawn prior to or
at the Confirmation Hearing or are otherwise overruled by this Order.

       L.    The Disclosure Statement contains adequate information within the meaning of
Code § 1125.

        M.     Based upon the Ballots submitted to the Court, the announcements made into the
record, and the contents of the Plan, all holders of all Claims and Interests addressed in the Plan
are either unimpaired and thus are deemed to accept the Plan or have accepted the Plan.

       N.     The solicitation of acceptances or rejections has been conducted pursuant to and
in compliance with Code § 1125.

        O.     The Plan complies with all applicable provisions of Code §§ 1122, 1123, and
1124.

        P.      Specifically, in addition to Administrative Claims and Priority Tax Claims, which
need not be classified, the Plan designates six (6) classes of Claims and Interests, each as defined
in the Plan. Classes are appropriately designated as impaired or unimpaired, as the case may be.
The Claims or Interests placed in each such Class are substantially similar to other Claims or
Interests, as the case may be, in such Class. The classification scheme of the Plan complies with
Code §§1122 and 1123(a).

        Q.    The Plan provides adequate and proper means for its implementation, thereby
satisfying Code § 1123(a)(5).

       R.     The Plan complies with the applicable provisions of the United States Bankruptcy
Code, thereby satisfying Code § 1129(a)(1).

        S.     The Plan proponents have complied with all applicable provisions of the
Bankruptcy Code, thereby satisfying Code § 1129(a)(2). Specifically, the Debtor is a proper
debtor under Code § 109 and has properly complied with the Bankruptcy Code and applicable
rules in propounding the Plan and Disclosure Statement and in soliciting and tabulating votes on
the Plan.

       T.       The Plan has been proposed in good faith and not by any means forbidden by law,
thereby satisfying Code § 1129(a)(3).

       U.     Any payments made or to be made by the Debtor for services or for costs and
expenses in or in connection with the Debtor’s Chapter 11 case or in connection with the Plan

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and incident to such Chapter 11 case have been approved by, or are subject to the approval of,
this Court as to reasonableness, thereby satisfying Code § 1129(a)(4).

         V.     The identity and affiliation of any individual proposed to serve, after confirmation
of the Plan, as a director, officer, trustee, or administrator of the Debtor has been disclosed prior
to or in connection with confirmation of the Plan, thereby satisfying Code § 1129(a)(5)(A)(i).
The assumption of office of such directors, officers, trustees, or administrators as applicable is
consistent with the interests of creditors and with public policy, thereby satisfying Code
§ 1129(a)(5)(A)(ii). The identity of any insider that will be employed or retained by the
Reorganized Debtor and the nature of any compensation for each such insider has been disclosed
prior to or in connection with confirmation of the Plan, thereby satisfying Code § 1129(a)(5)(B).

        W.     The Plan does not propose to change or alter any rates which are under the
authority of any governmental regulatory commission, thereby satisfying Code § 1129(a)(6).

        X.    With respect to each impaired Class of Claims, each holder of a Claim in such
impaired Class has either accepted the Plan or will receive or retain under the Plan on account of
such Claim, property of a value, as of the Effective Date (as defined in the Plan), that is not less
than the amount that such holder would receive or retain if the Debtor were liquidated under
Chapter 7 of the Bankruptcy Code on such date, thereby satisfying Code § 1129(a)(7)(A) and
Code § 1129(a)(7)(B) is inapplicable.

         Y.     All impaired classes under the Plan have accepted the Plan pursuant to the
criteria of Code § 1126, thereby satisfying Code § 1129(a)(8).

        Z.     No impaired class or holder of an impaired claim is discriminated against unfairly
in the Plan.

        AA. Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such claim or is provided different treatment in this Confirmation Order, the Plan
provides that, (a) as to each Claim of a kind specified in Code §§ 507(a)(2) or 507(a)(3), the
holder of such Claim will receive on account of such Claim, on the Effective Date of the Plan,
cash equal to the allowed amount of such Claim, in satisfaction of Code § 1129(a)(9)(A);
(b) with respect to a Class of Claims of a kind specified in Code §§ 507(a)(1), 507(a)(4),
507(a)(5), 507(a)(6), or 507(a)(7), each holder of a Claim in such Class will receive treatment
comporting with the provisions of Code § 1129(a)(9)(B); and (c) with respect to a Claim of a
kind specified in § 507(a)(8) of the Bankruptcy Code, the holder of such Claim in such class will
receive treatment comporting with the provisions of Code § 1129(a)(9)(C) (or Code
§ 1129(a)(9)(D) if applicable), thereby satisfying Code § 1129(a)(9).

       BB. At least one Class of Claims impaired under the Plan has accepted the Plan,
determined without including any acceptances of the Plan by any insider, thereby satisfying
Code § 1129(a)(10).

        CC. The Plan is feasible. Confirmation of the Plan is not likely to be followed by the
liquidation of the Debtor or the need for further reorganization of the Debtor, other than any
liquidation or reorganization proposed in the Plan, thereby satisfying Code § 1129(a)(11).


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        DD. All fees payable under 28 U.S.C. §1930, as determined by this Bankruptcy Court,
have been paid or the Plan provides for the payment of all such fees on the Effective Date of the
Plan, thereby satisfying Code § 1129(a)(12).

       EE.     The requirements of Code § 1129(a)(13) are not applicable to this Debtor.

         FF.   No garnishments or other orders pertaining to domestic support obligations exist
as to the Debtor, and thus Code § 1129(a)(14) is not applicable to this Debtor.

       GG.     This Debtor is not an individual, and thus Code § 1129(a)(15) is not applicable to
this Debtor.

        HH. This Confirmation Order in Paragraph No. 16 below provides that, to the extent
that the Debtor is not a moneyed, business, or commercial corporation within the meaning of
Code § 1129(a)(16), that the Debtor shall follow the requirements of Code § 1129(a)(16),
thereby satisfying Code § 1129(a)(16).

       II.     The principal purpose of the Plan is not the avoidance of taxes.

       JJ.    The Proponents have solicited votes on the Plan in good faith and in compliance
with the applicable provisions of the Bankruptcy Code and are entitled to the protections
afforded by Code § 1125(e).

       KK. Bubba’s Holdings LLC (f/k/a Strategic Restaurant Concepts, LLC has not
objected to the assumption of the Bubba’s Holding’s Lease (as defined in Plan §7.1), and the
Plan otherwise provides Plan § 7.1 a procedure for the possible assumption and potential
assignment of other leases of nonresidential real property. .

       LL. The Court may properly retain jurisdiction over the matters set forth in
Section 13.1 of the Plan.

       MM. This Bankruptcy Court adopts the findings announced on the record on March 30,
2022 and reserves the right to enter further findings of fact and conclusions of law. As
appropriate, all findings of fact are conclusions of law, and vice versa.

    Based upon the foregoing findings of fact and conclusions of law, IT IS
THEREFORE ORDERED:

     1.  The Plan (a copy of which is attached hereto as Exhibit PDGP499 is hereby
CONFIRMED pursuant to Code §1129(a) and/or to the extent applicable Code § 1129(b).

        2.      Pursuant to Code § 1141, effective as of the Effective Date, but subject to
consummation of the Plan, and except as expressly provided in the Plan or in this Confirmation
Order, the provisions of the Plan (including the exhibits thereto), and all documents and
agreements to be executed pursuant to the Plan, are hereby approved and, together with this
Confirmation Order, shall be binding on the Debtor and all holders of Claims against and
Interests in the Debtor, whether or not impaired under the Plan and whether or not, if impaired,
such holders accepted the Plan.

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        3.      The assumption by the Debtor of the Bubba’s Holding’s Lease (as defined in Plan
§ 7.1) is hereby approved.

        4.     On and as of the Effective Date, all property of the Debtor's estate is and shall be
vested in the Reorganized Debtor in the manner specified in the Plan except as otherwise
specified herein.

        5.     Except as otherwise provided in the Plan or herein, from and after the Effective
Date, all persons and entities that have held, currently hold, or may hold any Claims against the
Debtor (or other right of any equity security holder that is cancelled under the terms of the Plan)
are forbidden from taking any of the following actions against the Debtor, the Reorganized
Debtor or any of their respective property on account of any such Claims or Interests or rights
related thereto: (a) commencing or continuing in any manner, any suit, action, or other
proceeding; (b) enforcing, attaching, collecting, or recovering in any manner any judgment,
award, decree, or order; (c) asserting a setoff, right of subrogation, or recoupment of any kind
against any debt, liability, or obligation due to the Debtor; (d) creating, perfecting, or enforcing
any lien or encumbrance; and (e) commencing or continuing any action, in any manner, in any
place, that does not comply with or is inconsistent with the provisions of the Plan or the
Bankruptcy Code; provided, however, that the foregoing injunction shall not limit or preclude
any person or entity from exercising its rights pursuant to the terms of the Plan or any document
executed pursuant thereto.

        6.      Pursuant to Code § 1142, the Debtor, the Reorganized Debtor, and their
respective officers, directors, trustees, and administrators, and all other necessary parties, are
authorized and empowered, and hereby directed, to execute and deliver all other instruments,
agreements, and documents, and to take any and all other actions that may be necessary or
desirable to comply with the terms and conditions of the Plan or to consummate or implement
the Plan or this Confirmation Order.

        7.      With the exception of administrative expense claims that are post-petition ad
valorem property taxes, all requests for payment of Administrative Claims, other than Fee
Claims as set forth in this paragraph or Administrative Claims to the extent incurred by the
Debtor in the ordinary course of business and recorded in the Debtor's books and records, shall
be filed with the Bankruptcy Court and served upon the Debtor and other notice parties within
thirty (30) days following the Effective Date or by such earlier deadline as may apply to such
Administrative Claim pursuant to an earlier order of the Court, if any. All requests for Fee
Claims of Professional Persons shall be filed with the Bankruptcy Court and served upon the
Debtor and other notice parties within thirty (30) days following the Effective Date. Except as
provided herein or in the Plan, any Administrative Claim or Fee Claim for which an application
or request for payment is not filed within such time period shall be discharged and forever bared.

        8.      Nothing in the Plan or in this Confirmation Order shall be construed to deprive
any taxing authorities of any statutory liens which may inure to the benefit of such taxing
authorities to secure payment of any pre-petition Priority Tax Claims, Secured Tax Claims, or
any post-petition Administrative Claims for taxes.




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        9.      In the case of post-petition Administrative Claims for state and local taxes, the
submission of tax bills or invoices presented in the ordinary course to the Debtor shall suffice in
lieu of a formal claim for Administrative Payment. With the exception of ad valorem property
taxes, in the event that the Debtor contests any such bills or invoices, the Debtor may elect to
contest such taxes in this Court prior to the entry of a Final Decree or pursuant to the state or
local rules for contesting such taxes.

        10.     On and as of the Effective Date, all contractual, legal, equitable, equitable
subordination, and turnover rights that a holder of a Claim or Interest may have with respect to
any distribution to be made pursuant to the Plan will be discharged and terminated, and all suits,
actions, and other proceedings and all other efforts to enforce or attempt to enforce any such
contractual, legal, equitable, equitable subordination, and/or turnover rights are hereby
permanently enjoined. The provisions of the Plan constitute a good faith compromise and
settlement of all Claims or controversies relating to the enforcement of all such contractual,
legal, equitable, equitable subordination, and turnover rights. The compromise and settlement of
all such Claims and controversies is approved under Bankruptcy Rule 9019 as being fair,
equitable, and reasonable and in the best interests of the Debtor, the Reorganized Debtor, and the
holders of Claims and Interests.

        11.     Except as otherwise expressly provided in the Plan or herein, the rights and
treatment afforded in the Plan shall discharge all existing security interests, liens, debts, and
claims of any kind, nature, or description whatsoever against the Debtor or any of its assets or
properties to the fullest extent permitted by Code § 1141; upon the Effective Date, all existing
Claims against the Debtor, except post-petition ad valorem property taxes, shall be, and shall be
deemed to be, discharged, and all holders of Claims shall be precluded from asserting against the
Debtor, or any of its assets or properties, any other or further Claim based upon any act or
omission, transaction, or other activity of any kind or nature that occurred prior to the Effective
Date, whether or not such holder filed a proof of Claim except for the claimant’s rights as
provided in this Plan. Confirmation of the Plan and the obligations imposed on the Debtor
and/or the Reorganized Debtor herein shall be in complete satisfaction, discharge, and release of
all Claims of any nature whatsoever against the Debtor and/or the Reorganized Debtor or any of
its assets or properties; and, except as otherwise provided herein, upon the Effective Date, the
Debtor shall be deemed discharged and released from any and all Claims, including but not
limited to demands and liabilities that arose before the Effective Date, and all debts of the kind
specified in Code §§ 502(g), 502(h), or 502(i) that arose prior to the Confirmation Date, whether
or not (a) a proof of Claim based upon such debt is filed or deemed filed under Code § 501, (b) a
Claim based upon such debt is allowed under Code § 502, or (c) the holder of a Claim based
upon such debt has accepted the Plan. Except as provided herein, the Confirmation Order shall
be a judicial determination of discharge of all liabilities of the Debtor. As provided in Code
§ 524, such discharge shall void any judgment against the Debtor at any time obtained, to the
extent it relates to a Claim, and operates as an injunction against the prosecution of any action
against the Debtor, or its property, to the extent it relates to a Claim discharged. However, any
provision of this Order notwithstanding, the discharge granted herein shall not discharge the
Reorganized Debtor from its obligations under the Plan or under any document executed
pursuant thereto.



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       12.      Pursuant to 28 U.S.C. §§ 1334 and 157, this Bankruptcy Court shall retain
exclusive jurisdiction of all matters arising in, arising under, and related to this Chapter 11 case
and the Plan, including the matters specified in Plan § 13.1.

        13.     The classification of Claims and Interests for purposes of distributions to be made
under the Plan shall be governed solely by the terms of the Plan. The classifications set forth on
the Ballots tendered or returned by the holders of Claims in connection with voting on the Plan
(a) were set forth on the Ballots solely for purposes of voting to accept or reject the Plan, (b) do
not necessarily represent, and in no event shall be deemed to modify or otherwise affect, the
actual classification of such Claims under the Plan for distribution purposes, and (c) may not be
relied upon by the holder of any Claim as representing the actual classification of such Claims
under the Plan for distribution purposes.

       14.   Where appropriate, the findings of fact and conclusions of law contained
hereinabove shall also have the force of decretal paragraphs and the foregoing decretal
paragraphs shall also have the force of findings of fact, conclusions of law, or both, as
appropriate.

        15.    The provisions of the Plan and this Confirmation Order, including the findings of
fact and conclusions of law set forth herein, are nonseverable and mutually dependent. The
failure specifically to include or reference any particular provision of the Plan in this
Confirmation Order shall not diminish or impair the effectiveness of such provision, it being the
intent of this Court that the Plan be confirmed in its entirety. If there is any direct conflict
between the Plan and this Confirmation Order, the terms of this Confirmation Order shall
control.

      16.    To the extent that the Debtor constitutes a non-moneyed, non-business, or non-
commercial corporation within the meaning of Code § 1129(a)(16), any transfers of property
contemplated by the Plan shall be made in accordance with any applicable provisions of
nonbankruptcy law that govern the transfer of property by a corporation or trust that is not a
moneyed, business, or commercial corporation or trust.

        17.     After the Confirmation Hearing, the Debtor or the Reorganized Debtor, as the
case may be, may, subject to Court approval and so long as it does not materially or adversely
affect the rights set forth in the Plan of creditors and other parties-in-interest, amend or modify
the Plan and related documents to remedy any defect or omission or reconcile any
inconsistencies in such documents or in this Order, in such manner that may be necessary to
carry out the purposes and intent of the Plan.

       18.    In the event of a conversion of this case to Chapter 7 any time after the
confirmation of this Plan, the assets of the Debtor shall re-vest to the bankruptcy estate of the
Debtor upon such conversion.

       19.    Pursuant to Bankruptcy Rule 3020(c), the Debtor shall, within two (2) business
days after the entry of this Order, serve notice of the entry of this Order as provided in
Bankruptcy Rule 2002(f) to all persons and entities required in Rules 2002 and 3020(c)(2) of the
Federal Rules of Bankruptcy Procedure.


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        20.     Upon occurrence of the Effective Date, the Reorganized Debtor shall file and
serve on all parties set forth in the foregoing paragraph a Notice of Effective Date, with
deadlines for filing and serving rejection claims and administrative claims clearly indicated, no
later than two (2) Business Days after the occurrence of the Effective Date.



       21.      THE EFFECTIVE DATE OF THE PLAN IS AND SHALL BE April 1, 2022.
Debtor shall file and serve a separate Notice of Effective Date.

                                                 ###




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